         Case 4:22-mj-00004-VLD Document 1 Filed 01/12/22 Page 1 of 7 PageID #: 14



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                                   STATEMENT OF FACTS

        Your Affiant is Richard Sutherland. I am a Special Agent with the Federal Bureau of
Investigation (“FBI”). I have been in this position since 2009. Prior to joining the FBI, I was a
deputy sheriff in North Carolina for thirteen years. In my duties as a Special Agent, I investigate
a variety of federal crimes. Currently, my duties include investigating criminal activity in and
around the United States Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

              BACKGROUND – THE U.S. CAPITOL ON JANUARY 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
  Case 4:22-mj-00004-VLD Document 1 Filed 01/12/22 Page 3 of 7 PageID #: 16




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                       FACTS SPECIFIC TO THIS INVESTIGATION

        On January 11, 2021, a confidential source (“CS-1”) contacted the FBI to provide
information about a male named Billy Knutson (KNUTSON). According to CS-1, s/he was a
relative of KNUTSON, had grown up with KNUTSON, and followed KNUTSON on social media.
CS-1 told the FBI that KNUTSON had a Parler account under the username @playboythebeast.
CS-1 stated that KNUTSON had been posting online that he was at the Capitol on January 6, 2021,
and that KNUTSON had posted photographs of himself outside of the Capitol. CS-1 further told
FBI agents that KNUTSON was a rapper who sold his music online. CS-1 stated that KNUTSON
has a YouTube channel under the username Playboythebeast.

       On February 16, 2021, a different confidential source (“CS-2”) submitted a video clip to
the FBI of an individual that they stated was KNUTSON entering the Capitol through a window.
A screenshot of the video is below:




        When I showed this video to CS-1, the relative of KNUTSON’s, CS-1 identified the
individual climbing through the window as KNUTSON. I further showed this submitted video of
KNUTSON to USCP investigators, who verified the window depicted in the submitted video is
part of the U.S. Capitol building.




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  Case 4:22-mj-00004-VLD Document 1 Filed 01/12/22 Page 4 of 7 PageID #: 17




        I then searched YouTube and located a YouTube channel under the name Playboythebeast-
Official. This channel posted several videos of KNUTSON performing songs, several of which
were about the events at the U.S. Capitol on January 6, 2021. The artist performing the songs on
this YouTube channel is consistent in size, tattoos, and appearance with the person who was
depicted climbing into the Capitol building in the submitted video, based on my observations.

       I reviewed images that had been provided to the FBI’s national tip line and images that the
FBI located from public Internet searches. These images included photographs that KNUTSON
allegedly posted to his social media accounts on and after January 6, 2021. Based on the
background of the photographs as well as KNUTSON’s attire, your affiant believes that the
photographs depict KNUTSON at the U.S. Capitol. The image pasted below is from KNUTSON’s
YouTube channel:




        I also viewed video footage from USCP’s closed-circuit television (“CCTV”) video
surveillance system, which was recorded on January 6, 2021. Based on the image above and based
on the previously mentioned video that was submitted by an online tipster, I was able to locate and
view CCTV video of KNUTSON entering the U.S. Capitol building at or about 3:32 p.m. on
January 6, 2021, near the Senate Wing Doors, by climbing through a broken window.

       I reviewed CCTV footage of KNUTSON spending several minutes inside the Capitol
building speaking to police officers and other people. During this time, in the CCTV footage,
KNUTSON can be seen using a cellular phone apparently to record video, live stream video, and/or
take photographs. A screenshot from that CCTV video footage, showing KNUTSON, is below:




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   Case 4:22-mj-00004-VLD Document 1 Filed 01/12/22 Page 5 of 7 PageID #: 18




        After several minutes, KNUTSON exited the Capitol by walking out a set of doors.

        Through an economic application that KNUTSON submitted to the State of North
Carolina, the FBI determined that KNUTSON uses the cellular phone number                        .1
Through legal process that the FBI served on Verizon, the FBI determined that the cellular device
using that number was in the vicinity of the U.S. Capitol on January 6, 2021.

         Based on the foregoing, I respectfully submit that there is probable cause to believe that
KNUTSON violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected

        1
          The FBI determined that the cellular provider for this number is Verizon. Verizon subscriber information
shows that this number is part of a multi-line account that is in the name of a female who lives in KNUTSON’s former
hometown. However, I believe that KNUTSON uses this number as his own, for the following reasons. First,
commercial databases report that this number is used by KNUTSON. Second, the number is associated with the
known Parler social media account of KNUTSON, based on Parler subscriber information provided to the FBI.




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Case 4:22-mj-00004-VLD Document 1 Filed 01/12/22 Page 6 of 7 PageID #: 19




                                                       G. Michael
                                                       Harvey
                Case 4:22-mj-00004-VLD Document 1 Filed 01/12/22 Page 7 of 7 PageID #: 20
AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of&ROXPELD

                  United States of America
                              v.                                     )
                                                                     )        Case No.
                  BILLY KNUTSON
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                      BILLY KNUTSON                                                        ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information             ;
                                                                                                                       u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                                                           G. Michael
Date:          1//202
                                                                                                           Harvey
                                                                                            Issuing officer’s signature

City and state:                      :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
